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                                  Ken Paxton Opinions
                              
                          
                                  KP-0439
                              
                        
          
        
      
    
  

  

  
    
      KP-0439
              Ken Paxton
                  
        Categories
                        
Children
              , 
Constitutional Law - Texas
              , 
Constitutional Law - United States
              , 
Legislature
              , 
Legislation
              , 
Schools and School Districts
              , 
State Funds
              , 
Special Statutory Funds and Accounts
        
      
            
                  Summary
                      An education savings account program that provides education assistance payments to program participants that can be directed to sectarian schools is not unconstitutional under the Texas or the federal Constitutions.
      
                          
            Opinion File
                         kp-0439.pdf 

      
          
                
        
      
    

          
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    RQ-0502-KP

      
  
                March 10, 2023

      
  
      
      
        Request PDF
                     RQ0502KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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